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                       IN THE UNITED         STATES DISTRICT COURT
                       FOR THE      SOUTHERN DISTRICT OF GEORGIA
                                        AUGUSTA DIVISION




JAIMERE PROSSER,                                 *

                                                 *


        Petitioner,                              *




                                                 *
        v.
                                                 *
                                                                    CV    115-067
                                                                    CR    109-073
                                                 *




UNITED STATES OF AMERICA,
                                                 *


        Respondent.                              *




                                             ORDER




        Presently before the Court is Petitioner                           Prosser's motion

to vacate.           (Doc.    7.)       On December 28,        2014,     Petitioner filed a

Rule 60(b) motion.                (Doc. 2.)      In response,       the Court entered an

Order        informing petitioner that                a Rule     60(b) motion was          not   a

proper         vehicle       for     relief       in     his     case.            (Doc.     440.)

Accordingly, the Court noted that it intended to recharacterize

the    motion     as     a   28     U.S.C.    § 2255     motion     and    gave     Petitioner

thirty        days     from       the    date    of     the      Order     to     contest     the

recharacterization,               withdraw      the    motion,    or     amend    the     motion.

When     petitioner          did     not     respond,     the     Court     recharacterized

petitioner's motion as a § 2255 motion.                            (Doc.    1.)      The Court
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subsequently        adopted           the        Magistrate           Judge's           report     and

recommendation denying the § 2255 motion as untimely.                                      (Docs. 3,

5.)

        Petitioner    has       now    moved      the       Court    to   vacate    these       Orders


because    he     claims        he    did      not      receive       notice       of    the     Order


recharacterizing his original motion until September 2015.                                         And

Petitioner       claims    that,       had       he    received      this     notice,      he    would

have timely withdrawn his motion.                            Although the Court questions

the result vacating the Orders will have,                              it nonetheless GRANTS

Petitioner's       request.              The          Court's       Orders      recharacterizing

Petitioner's       motion        (doc.      1)        and    denying      the     recharacterized

motion    (docs.     3,    5)    are     VACATED.             The    Court,     therefore,        will

consider     Petitioner's             original          motion       (doc.      440)     WITHDRAWN.

Furthermore,       Petitioner has since filed a second motion on this

issue    (doc.    474), which indicates that he requests a hearing on

this issue.        To the extent that Petitioner requests a hearing on

this issue, his request is DENIED.

        ORDER ENTERED at Augusta, Georgia this                               /r    day of April,

2016.



                                                            HONORABLE J. RANDAL I(ALL
                                                            UNITEJ/ STATES DISTRICT JUDGE
                                                                PHERN DISTRICT OF GEORGIA
